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                                                                        APPEAL,CAP,CAT B
                             U.S. District Court
                  District of Columbia (Washington, DC)
           CRIMINAL DOCKET FOR CASE #: 1:21−cr−00088−DLF−1

Case title: USA v. SANDLIN
Magistrate judge case number: 1:21−mj−00129−ZMF

Date Filed: 02/05/2021

Assigned to: Judge Dabney L. Friedrich

Defendant (1)
RONALD L. SANDLIN                         represented by Jerry Ray Smith , Jr.
                                                         JERRY RAY SMITH, JR., ATTORNEY AT
                                                         LAW
                                                         717 D Street, NW
                                                         Suite 310
                                                         Washington, DC 20004−2812
                                                         (202) 347−6101
                                                         Fax: (202) 842−8469
                                                         Email: jerryraysmith@verizon.net
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Designation: CJA Appointment

Pending Counts                                        Disposition
18 U.S.C. 111(a)(1);
ASSAULTING/RESISTING/IMPEDING
OFFICERS/EMPLOYEES; Assaulting,
Resisting, or Impeding Certain Officers
(1−2)
18 U.S.C. 231(a)(3); CIVIL DISORDER;
Civil Disorder
(3−4)
18 U.S.C. 1512(c)(2) and 2; TAMPERING
WITH A WITNESS, VICTIM OR
INFORMANT; Obstruction of an Official
Proceeding and Aiding and Abetting
(5)
18 U.S.C. 1752(a)(1); TEMPORARY
RESIDENCE OF THE PRESIDENT;
Entering and Remaining in a Restricted
Building or Grounds
(6)



                                                                                             1
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18 U.S.C. 1752(a)(2); TEMPORARY
RESIDENCE OF THE PRESIDENT;
Disorderly and Disruptive Conduct in a
Restricted Building or Grounds
(7)
40 U.S.C. 5104(e)(2)(D); FEDERAL
STATUTES, OTHER; Disorderly Conduct
in a Capitol Building
(8)
40 U.S.C. 5104(e)(2)(E); FEDERAL
STATUTES, OTHER; Impeding Passage
Through the Capitol Grounds or Buildings
(9)
40 U.S.C. 5104(e)(2)(F); FEDERAL
STATUTES, OTHER; Act of Physical
Violence in the Capitol Grounds or
Buildings
(10)
40 U.S.C. 5104(e)(2)(G); FEDERAL
STATUTES, OTHER; Parading,
Demonstrating, or Picketing in a Capitol
Building
(11)

Highest Offense Level (Opening)
Felony

Terminated Counts                                     Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                            Disposition
COMPLAINT in Violation of
18:231(a)(3), 18:231(a)(3),
18:1752(a)(1)&(2) and
40:5104(e)(2)(D)(E)(F)&(G)



Plaintiff
USA                                        represented by Elizabeth Ann Aloi
                                                          U.S. ATTORNEY'S OFFICE/DISTRICT
                                                          OF COLUMBIA
                                                          555 4th Street, NW


                                                                                            2
      Case 1:21-cr-00088-DLF Document 36 Filed 04/29/21 Page 3 of 37


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                                                           (202) 252−7212
                                                           Email: elizabeth.aloi@usdoj.gov
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                                                           Designation: Assistant U.S. Attorney

                                                           Jessica Arco
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                                                           555 4th St NW
                                                           Washington, DC 20530
                                                           202−431−5198
                                                           Email: jessica.arco2@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant U.S. Attorney

                                                           Kaitlin Ann Vaillancourt
                                                           U.S. ATTORNEY'S OFFICE/DISTRICT
                                                           OF COLUMBIA
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                                                           Washington, DC 20530
                                                           (202) 252−2421
                                                           Email: kaitlin.vaillancourt@usdoj.gov
                                                           TERMINATED: 02/16/2021
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant U.S. Attorney

Date Filed   #    Page Docket Text
01/20/2021    1        SEALED COMPLAINT as to RONALD L. SANDLIN (1). (Attachments: # 1
                       Statement of Facts) (zstd) [1:21−mj−00129−ZMF] (Entered: 01/20/2021)
01/20/2021    3        MOTION to Seal Case by USA as to RONALD L. SANDLIN. (Attachments: #
                       1 Text of Proposed Order)(zstd) [1:21−mj−00129−ZMF] (Entered: 01/20/2021)
01/20/2021    4        ORDER granting 3 Motion to Seal Case as to RONALD L. SANDLIN (1).
                       Signed by Magistrate Judge Zia M. Faruqui on 1/20/2021. (zstd)
                       [1:21−mj−00129−ZMF] (Entered: 01/20/2021)
01/28/2021             Case unsealed as to RONALD L. SANDLIN (bb) [1:21−mj−00129−ZMF]
                       (Entered: 02/02/2021)
01/28/2021             Arrest of RONALD L. SANDLIN in US District Court for the District of
                       Nevada. (bb) (Entered: 03/30/2021)
02/02/2021    5        NOTICE OF ATTORNEY APPEARANCE Jessica Arco appearing for USA.
                       (Arco, Jessica) [1:21−mj−00129−ZMF] (Entered: 02/02/2021)
02/03/2021   21        Rule 5(c)(3) Documents Received as to RONALD L. SANDLIN from US
                       District Court for the District of Nevada Case Number 2:21−mj−110− DJA (bb)
                       Modified on 3/30/2021 (bb). Modified on 3/30/2021 (bb). (Entered: 03/30/2021)



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02/05/2021    6    INDICTMENT as to RONALD L. SANDLIN (1) count(s) 1−2, 3−4, 5, 6, 7, 8,
                   9, 10, 11. (zltp) (Entered: 02/09/2021)
02/16/2021    9    NOTICE OF SUBSTITUTION OF COUNSEL as to USA. Attorney Arco,
                   Jessica added. Substituting for attorney Kaitlin Vaillancourt (Arco, Jessica)
                   (Entered: 02/16/2021)
02/19/2021   10    NOTICE OF ATTORNEY APPEARANCE: Jerry Ray Smith, Jr appearing for
                   RONALD L. SANDLIN (Smith, Jerry) (Entered: 02/19/2021)
03/11/2021         MINUTE ORDER: The hearing currently scheduled for March 11, 2021 is
                   hereby VACATED, as the government has formally charged RONALD L.
                   SANDLIN and there are no additional matters necessitating action by a
                   magistrate judge. If a hearing has not been scheduled before the assigned district
                   judge, the parties are respectfully directed to contact the chambers of the
                   assigned district judge to schedule a hearing. Signed by Magistrate Judge Zia M.
                   Faruqui on 3/11/2021. (ztl) (Entered: 03/14/2021)
03/15/2021         MINUTE ORDER. Pursuant to the Due Process Protections Act, the Court
                   ORDERS that all government counsel shall review their disclosure obligations
                   under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, as set forth in
                   Local Criminal Rule 5.1, and comply with those provisions. The failure to
                   comply could result in dismissal of the indictment or information, dismissal of
                   individual charges, exclusion of government evidence or witnesses,
                   continuances, Bar discipline, or any other remedy that is just under the
                   circumstances. So Ordered by Judge Dabney L. Friedrich on March 15, 2021.
                   (lcdlf1) (Entered: 03/15/2021)
03/15/2021         NOTICE OF HEARING as to RONALD L. SANDLIN. Status Conference set
                   for 3/18/2021 at 9:30 AM via Video before Judge Dabney L. Friedrich. (zjch)
                   (Entered: 03/15/2021)
03/17/2021         NOTICE OF HEARING as to RONALD L. SANDLIN. Arraignment set for
                   3/18/2021 at 9:30 AM in Telephonic/VTC before Judge Dabney L. Friedrich.
                   (zjch) (Entered: 03/17/2021)
03/18/2021   11    Consent MOTION for Protective Order by USA as to RONALD L. SANDLIN.
                   (Attachments: # 1 Text of Proposed Order)(Arco, Jessica) (Entered: 03/18/2021)
03/18/2021         Minute Entry for Status Conference and Arraignment as to RONALD L.
                   SANDLIN on Counts 1−2,3−4,5,6,7,8,9,10,11 held on 3/18/2021 before Judge
                   Dabney L. Friedrich. Not Guilty Plea entered by RONALD L. SANDLIN on
                   Counts 1−2,3−4,5,6,7,8,9,10,11.Speedy Trial Excludable (XT) started 3/18/2021
                   through 3/25/2021 in the interest of justice. Motions due by 3/22/2021.
                   Responses due by 3/24/2021 Motion Hearing set for 3/25/2021 at 12:30 PM in
                   Telephonic/VTC before Judge Dabney L. Friedrich. Bond Status of Defendant:
                   Committed; Court Reporter: Sara Wick; Defense Attorney: Jerry Ray Smith, Jr.;
                   US Attorney: Jessica Arco. (zjch) (Entered: 03/18/2021)
03/18/2021         MINUTE ORDER as to RONALD L. SANDLIN. With the consent of the
                   parties, and for the reasons stated in today's hearing, namely, the need for the
                   defense to review forthcoming discovery and for the public health and safety
                   reasons set forth in the Chief Judge's Standing Order 21−10, the Court finds that
                   the ends of justice outweigh the best interest of the public and the defendant in a
                   speedy trial. 18 U.S.C. § 3161(h)(7)(A). Accordingly, pursuant to the Speedy


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                   Trial Act, the Court excludes time from March 18, 2021 through March 25,
                   2021 in computing the date for a speedy trial in this case. The Court will hold a
                   hearing on March 25, 2021 at 12:30 pm to consider the defendant's forthcoming
                   motion to revoke the magistrate judge's order of detention. So Ordered by Judge
                   Dabney L. Friedrich on March 18, 2021. (lcdlf1) (Entered: 03/18/2021)
03/18/2021   12    ORDER granting the government's 11 Unopposed Motion for Protective Order.
                   See text for details. Signed by Judge Dabney L. Friedrich on March 18, 2021.
                   (lcdlf1) (Entered: 03/18/2021)
03/18/2021   13    NOTICE of Filing by USA as to RONALD L. SANDLIN (Attachments: # 1
                   Commitment to Another District, # 2 Waiver of Rule 5 & 5.1 Hearings, # 3
                   Order of Dentention)(Arco, Jessica) (Entered: 03/18/2021)
03/22/2021   14    MOTION for Bond by RONALD L. SANDLIN. (Attachments: # 1 Letters of
                   Support)(Smith, Jerry) (Entered: 03/22/2021)
03/22/2021   15    Amended MOTION for Bond by RONALD L. SANDLIN. (Attachments: # 1
                   Letters of Support)(Smith, Jerry) (Entered: 03/22/2021)
03/23/2021   16    Memorandum in Opposition by USA as to RONALD L. SANDLIN re 15
                   Amended MOTION for Bond (Attachments: # 1 Exhibit A)(Arco, Jessica)
                   (Entered: 03/23/2021)
03/24/2021   17    Unopposed MOTION to Continue Bond Hearing by RONALD L. SANDLIN.
                   (Attachments: # 1 Text of Proposed Order)(Smith, Jerry) (Entered: 03/24/2021)
03/24/2021   18    NOTICE of Filing by USA as to RONALD L. SANDLIN (Attachments: # 1
                   Government's Detention Memo)(Arco, Jessica) (Entered: 03/24/2021)
03/24/2021   19    Unopposed MOTION to Continue Bond Hearing by RONALD L. SANDLIN.
                   (Attachments: # 1 Text of Proposed Order)(Smith, Jerry) (Entered: 03/24/2021)
03/25/2021         MINUTE ORDER as to RONALD L. SANDLIN. Upon consideration of the
                   defendant's 19 Unopposed Motion to Continue Bond Hearing, it is ORDERED
                   that the motion is GRANTED. Accordingly, today's hearing to consider the
                   defendant's motion to revoke the magistrate judge's order of detention shall be
                   continued to April 6, 2021. With the consent of the parties and for the reasons
                   stated in the defendant's motion, namely the need for the defense to review
                   voluminous discovery, the Court finds that the ends of justice outweigh the best
                   interest of the public and the defendant in a speedy trial. 18 U.S.C. §
                   3161(h)(7)(A). Accordingly, pursuant to the Speedy Trial Act, the Court
                   excludes time from March 25, 2021 through April 6, 2021 in computing the date
                   for a speedy trial in this case. So Ordered by Judge Dabney L. Friedrich on
                   March 25, 2021. (lcdlf1) (Entered: 03/25/2021)
03/26/2021         MINUTE ORDER as to RONALD L. SANDLIN. The defendant shall file any
                   supplemental response to the government's 16 Opposition, addressing the
                   government's recently produced discovery, on or before March 31, 2021. So
                   Ordered by Judge Dabney L. Friedrich on March 26, 2021. (lcdlf1) (Entered:
                   03/26/2021)
03/26/2021         Set/Reset Deadlines as to RONALD L. SANDLIN: The defendant shall file any
                   supplemental response to the government's 16 Opposition, addressing the
                   government's recently produced discovery by 3/31/2021 (zjch) (Entered:
                   03/26/2021)

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03/29/2021   20    Unopposed MOTION to Seal Case by USA as to RONALD L. SANDLIN.
                   (Attachments: # 1 Exhibit A)(Arco, Jessica) (Entered: 03/29/2021)
03/31/2021   24    REPLY TO OPPOSITION to Motion by RONALD L. SANDLIN re 15
                   Amended MOTION for Bond (Smith, Jerry) (Entered: 03/31/2021)
04/01/2021         MINUTE ORDER as to RONALD L. SANDLIN. Upon consideration of the
                   defendant's 23 Motion for Leave to File Attachment to Reply Under Seal, it is
                   ORDERED that the motion is DENIED WITHOUT PREJUDICE as the
                   defendant has not adequately justified sealing the attached exhibits in their
                   entirety. To the extent that the defendant seeks to redact information that
                   implicates significant privacy interests, see United States v. Hubbard, 650 F.2d
                   293, 320 (D.C. Cir. 1980), including personal identifying information, the
                   defendant shall file both redacted and unredacted versions of the exhibits under
                   seal, with an accompanying motion to seal that provides the grounds for the
                   proposed redactions. If the Court grants the motion, it will unseal the motion and
                   the redacted version of the exhibits; the unredacted version will remain under
                   seal. Insofar as the defendant seeks authorization to file exhibits that are covered
                   by the parties' protective order, the parties shall confer and file, as appropriate, a
                   joint motion to unseal those exhibits. So Ordered by Judge Dabney L. Friedrich
                   on April 1, 2021. (lcdlf1) (Entered: 04/01/2021)
04/01/2021   25    ORDER as to RONALD L. SANDLIN granting the government's 20 Unopposed
                   Motion to Seal. See text for details. Signed by Judge Dabney L. Friedrich on
                   April 1, 2021. (lcdlf1) (Entered: 04/01/2021)
04/02/2021         NOTICE OF HEARING as to RONALD L. SANDLIN Motion Hearing set for
                   4/6/2021 at 11:30 AM in Telephonic/VTC before Judge Dabney L. Friedrich.
                   (zjch) (Entered: 04/02/2021)
04/02/2021   27    REDACTED ATTACHMENT DOCUMENT by RONALD L. SANDLIN to 24
                   Reply to opposition to Motion for Bond filed by RONALD L. SANDLIN. (zhsj)
                   (Entered: 04/05/2021)
04/05/2021         MINUTE ORDER as to RONALD L. SANDLIN granting defendant Sandlin's
                   26 Motion for Leave to File Redacted Document on Public Docket and
                   Unredacted Version of Same Document Under Seal. Accordingly, Sandlin's 26
                   motion and his [26−1] redacted attachment shall be filed on the public docket,
                   and his [26−2] sealed attachment shall be filed under seal. So Ordered by Judge
                   Dabney L. Friedrich on April 5, 2021. (lcdlf1) (Entered: 04/05/2021)
04/05/2021   29    SUPPLEMENT by USA as to RONALD L. SANDLIN re 14 MOTION for
                   Bond (Arco, Jessica) (Entered: 04/05/2021)
04/06/2021         Minute Entry for proceedings held before Judge Dabney L. Friedrich: Motion
                   Hearing as to RONALD L. SANDLIN held on 4/6/2021 re 14 MOTION for
                   Bond filed by RONALD L. SANDLIN. Motion Hearing set for 4/8/2021 at
                   10:00 AM via video before Judge Dabney L. Friedrich. Bond Status of
                   Defendant: Committed; Court Reporter: Sara Wick; Defense Attorney: Jerry
                   Ray Smith, Jr.; US Attorney: Jessica Arco; Pretrial Officer: Christine Schuck.
                   (zjch) (Entered: 04/06/2021)
04/08/2021         MINUTE ORDER as to RONALD L. SANDLIN scheduling the continuation of
                   the detention hearing for April 13, 2021 at 12:30 PM. So Ordered by Judge
                   Dabney L. Friedrich on April 8, 2021. (lcdlf1) (Entered: 04/08/2021)


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04/08/2021         Set/Reset Hearings as to RONALD L. SANDLIN: Motion Hearing set for
                   4/13/2021 at 12:30 PM via video before Judge Dabney L. Friedrich. (zjch)
                   (Entered: 04/09/2021)
04/12/2021   30    SUPPLEMENT by USA as to RONALD L. SANDLIN re 14 MOTION for
                   Bond (Attachments: # 1 Exhibit A)(Arco, Jessica) (Entered: 04/12/2021)
04/13/2021         Minute Entry for Motion Hearing as to RONALD L. SANDLIN held on
                   4/13/2021 re 14 MOTION for Bond filed by RONALD L. SANDLIN, 15
                   Amended MOTION for Bond filed by RONALD L. SANDLIN held before
                   Judge Dabney L. Friedrich: Court denies 14 Motion for Bond as to RONALD L.
                   SANDLIN. Status Conference set for 5/12/2021 at 1:00 PM via video before
                   Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started 4/13/2021
                   through 5/12/2021 in the interest of justice. Bond Status of Defendant:
                   Committed; Court Reporter: Sara Wick Defense Attorney: Jerry Ray Smith, Jr;
                   US Attorney: Jessica Arco; Pretrial Officer: Christine Schuck. (zjch) (Entered:
                   04/13/2021)
04/13/2021   31    ORDER as to RONALD L. SANDLIN denying the defendant's 15 Amended
                   Motion for Bond and, pursuant to the Speedy Trial Act, excluding time from
                   April 13, 2021 through May 12, 2021 in computing the date for a speedy trial in
                   this case. See text for details. Signed by Judge Dabney L. Friedrich on April 13,
                   2021. (lcdlf1) (Entered: 04/13/2021)
04/15/2021   32    Unopposed MOTION for Disclosure of 6(e) materials by USA as to RONALD
                   L. SANDLIN. (Attachments: # 1 Proposed Order)(Arco, Jessica) (Entered:
                   04/15/2021)
04/15/2021   33    ORDER as to RONALD L. SANDLIN granting the government's 32 Motion for
                   Disclosure. See text for details. Signed by Judge Dabney L. Friedrich on April
                   15, 2021. (lcdlf1) (Entered: 04/15/2021)
04/26/2021   34    NOTICE OF APPEAL (Interlocutory) by RONALD L. SANDLIN re 31 Order
                   on Motion for Bond,. Fee Status: No Fee Paid. Parties have been notified.
                   (Smith, Jerry) (Entered: 04/26/2021)
04/28/2021   35    NOTICE OF ATTORNEY APPEARANCE Elizabeth Ann Aloi appearing for
                   USA. (Aloi, Elizabeth) (Entered: 04/28/2021)




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MIME−Version:1.0
From:DCD_ECFNotice@dcd.uscourts.gov
To:DCD_ECFNotice@localhost.localdomain
Bcc:
−−Case Participants: Jerry Ray Smith, Jr (jerryraysmith@verizon.net), Jessica Arco
(jessica.arco2@usdoj.gov), Judge Dabney L. Friedrich (athanasia_livas@dcd.uscourts.gov,
cody_poplin@dcd.uscourts.gov, dabney_l._friedrich@dcd.uscourts.gov,
david_beylik@dcd.uscourts.gov, dennis_howe@dcd.uscourts.gov, dlf_dcdecf@dcd.uscourts.gov,
jason_ethridge@dcd.uscourts.gov, joe_falvey@dcd.uscourts.gov,
jonathan_hopkins@dcd.uscourts.gov, kimberly_jackson@dcd.uscourts.gov,
madeline_mcmahon@dcd.uscourts.gov, michael_showalter@dcd.uscourts.gov,
noah_mccullough@dcd.uscourts.gov)
−−Non Case Participants: Michael Daniels (mdaniels5757@gmail.com), Joshua A. Gerstein
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(kcheney@politico.com), Zoe M. Tillman (zoe.tillman@buzzfeed.com), Marcy Wheeler
(emptywheel@gmail.com), AUSA Hearings Clerk (usadc.ecfprobhov@usdoj.gov), Pretrial
Notification (psadistrictcourtgroup@psa.gov), Probation Court Notices
(dcpdb_probation_court_notices@dcp.uscourts.gov)
−−No Notice Sent:

Message−Id:7074391@dcd.uscourts.gov
Subject:Activity in Case 1:21−cr−00088−DLF USA v. SANDLIN Order on Motion for Bond
Content−Type: text/html

                                           U.S. District Court

                                          District of Columbia

Notice of Electronic Filing


The following transaction was entered on 4/13/2021 at 2:01 PM and filed on 4/13/2021

Case Name:       USA v. SANDLIN
Case Number:     1:21−cr−00088−DLF
Filer:
Document Number: No document attached
Docket Text:
 Minute Entry for Motion Hearing as to RONALD L. SANDLIN held on 4/13/2021 re [14]
MOTION for Bond filed by RONALD L. SANDLIN, [15] Amended MOTION for Bond filed by
RONALD L. SANDLIN held before Judge Dabney L. Friedrich: Court denies [14] Motion for
Bond as to RONALD L. SANDLIN. Status Conference set for 5/12/2021 at 1:00 PM via video
before Judge Dabney L. Friedrich. Speedy Trial Excludable (XT) started 4/13/2021 through
5/12/2021 in the interest of justice. Bond Status of Defendant: Committed; Court Reporter:
Sara Wick Defense Attorney: Jerry Ray Smith, Jr; US Attorney: Jessica Arco; Pretrial Officer:
Christine Schuck. (zjch)


1:21−cr−00088−DLF−1 Notice has been electronically mailed to:

Jerry Ray Smith, Jr   jerryraysmith@verizon.net

Jessica Arco   jessica.arco2@usdoj.gov



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1:21−cr−00088−DLF−1 Notice will be delivered by other means to::




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     Case
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )(
                         )(                         Criminal No. 21-88 (DLF)
           v.            )(                         Judge Friedrich
                         )(                         Bond Hearing: March 25, 2021
    RONALD SANDLIN       )(


           MOTION TO LIFT PREVENTIVE DETENTION
       AND POINTS AND AUTHORITY IN SUPPORT THEREOF

       COMES NOW the defendant, Ronald Sandlin, by and through undersigned

counsel, and respectfully moves this Honorable Court to lift his preventive detention in

this case. In support of this motion, Mr. Sandlin would show:

       1.      On January 28, 2021, Ronald Sandlin was arrested on a warrant that had

originated from this District in Las Vegas, Nevada, where he was residing at the time.

The charges at issue in the warrant pertain to the events that occurred at the United States

Capitol on January 6, 2021. On February 1, 2021, Mr. Sandlin appeared before a

Magistrate Judge in the United States District Court for the District of Nevada. The

government moved for Mr. Sandlin to be preventively detained. See Government’s
Detention Memorandum (Detention Memo). The Magistrate Judge ordered Mr. Sandlin

held without bond, see Order of Detention Pending Trial (Detention Order), and his case

was transferred to this District. On February 5, 2021, an indictment against Mr. Sandlin

was filed in this case. Mr. Sandlin has recently been transferred to this District by the

United States Marshal’s Service. Mr. Sandlin was arraigned on his indictment on March

18, 2021. A bond hearing has been set for March 25, 2021.

       2.      When the government moved for Mr. Sandlin to be preventively detained

at his initial appearance in the District of Nevada, it claimed he qualified for

consideration for preventive detention because he poses a “serious risk of flight” under


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18 U.S.C. § 3142(f)(2)(A) and a “serious risk to obstruct justice” under 18 U.S.C. §

3142(f)(2)(B). Detention Memo at 1. In its Detention Memo, the government notes how,

after the events of January 6, Mr. Sandlin appears to have travelled from where he was

living to towns in the Los Angeles area and was then subsequently located in Las Vegas.

Id. at 12. The government argues that Mr. Sandlin was in the Los Angeles area and Las

Vegas because he was fleeing his residence to avoid arrest, knowing that he must have

been wanted by the FBI in part because of “the public streaming of his criminal conduct

on social media.” Id. at 15. This appears to be the government’s basis for claiming that

Mr. Sandlin poses a serious risk of flight so as to qualify for consideration for preventive

detention. In its Detention Memo, the government also alleges that Mr. Sandlin took

down certain videos that incriminated him in connection with the events of January 6 that

he had previously posted on his Facebook page. Id. at 7. This appears to be the
government’s basis for claiming that Mr. Sandlin poses a serious risk of obstruction of

justice so as to qualify for consideration for preventive detention. In its Detention Memo,

the government then goes on to argue that Mr. Sandlin should be held without bond

because he is a flight risk and poses a danger to society. Id. at 14-15. In regards to Mr.

Sandlin being a danger to society, the government describes in detail conduct that Mr.

Sandlin is alleged to have engaged in at the Capitol on January 6, and it quotes several
recorded statements that he is alleged to have made about January 6, both before and

immediately after the events at issue. Id. at 3-10. The government argues that, because

of what Mr. Sandlin is alleged to have done in connection to the events of January 6, he

poses a danger to society—apparently on the theory that the fact that he engaged in those

events means he is likely to do something similar in the future. Id. at 15. At the initial

appearance, the Magistrate Judge ordered Mr. Sandlin preventively detained, finding that

no condition or combination of conditions would reasonably assure the safety of any

other person and the community or Mr. Sandlin’s appearance at future proceedings.

Detention Order at 2. In finding that Mr. Sandlin poses a risk of flight, the Magistrate


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Judge noted that Mr. Sandlin has a “[l]ack of significant community or family ties to this

district.” Id. at 3.

         3.        Since being appointed to represent Mr. Sandlin, undersigned counsel has

been continuously receiving a steady flow of letters of support for Mr. Sandlin from

various friends, family members, and business associates. A sampling of the letters is

attached to this filing. Attachment, Letters of Support. In the letters, Mr. Sandlin is

consistently described as a kind, extremely generous, and non-violent person who goes

out of his way to engage and help other people and who is devoted to volunteerism and

helping the community. Among other things, the writers frequently remark on how Mr.

Sandlin helped start up and develop a non-profit organization serving people in a low-

income neighborhood and how he has been actively involved in animal rescue. The

writers also frequently remark on Mr. Sandlin’s entrepreneurial spirit and how he has not

only created his own business but also helped others to start and develop their own. It is

important to note that several of the people who have written letters for Mr. Sandlin have

expressed deep disapproval of what happened at the Capitol on January 6, 2021.

Nevertheless, all of these people still maintain a firm belief that Mr. Sandlin is a person

of goodwill. The fact that so many people have come forward to speak on Mr. Sandlin’s

behalf is remarkable. It is submitted that a review of the attached letters is perhaps the

best way to get a sense of who Mr. Sandlin is.1
         4.        Mr. Sandlin is 33 years old. He was raised by his adoptive parents in

Long Beach in Los Angeles County, California. Mr. Sandlin’s mother is a teacher who

taught at a Lutheran school for 25 years. Mr. Sandlin’s father is a chemical engineer who

worked for 35 years in the aerospace industry. Growing up, Mr. Sandlin was a bright

1
  Undersigned counsel has taken the liberty of redacting the letters he has received on Mr. Sandlin’s behalf
to conceal contact and location information for the writers and all but the first initials of their last names. It
is important to note that none of the persons who wrote the letters asked counsel to do this. However,
counsel thought it was prudent to make the redactions to protect the writers from unwanted contacts by the
media. Upon request, counsel can provide the full names and contact and location information for the
writers to the Court.


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student and actively involved in the Boy Scouts from the ages of six to sixteen. Mr.

Sandlin lived with his parents and his younger adoptive brother in Long Beach until he

was in his early twenties. He moved out to live with his girlfriend. Six years ago, Mr.

Sandlin and his girlfriend moved from California to Las Vegas, Nevada. In Nevada, Mr.

Sandlin had an online marketing business that was quite successful for a while. Mr.

Sandlin and his girlfriend were planning to get married. However, Mr. Sandlin’s

business suffered some setbacks and began failing, and he grew depressed. About nine

months ago, Mr. Sandlin’s girlfriend ended their relationship. At this time, Mr. Sandlin’s

parents had recently relocated from Long Beach, California to a rural community outside

of Memphis, Tennessee to be with Mr. Sandlin’s maternal grandfather, who was in poor

health. When he and his girlfriend broke up, Mr. Sandlin decided he wanted to be closer

to his parents and his grandfather, who was now dying. In approximately July 2020, Mr.

Sandlin moved from Las Vegas to Memphis. He was only in Memphis for a short time

before his grandfather died. Around this same time, he realized he had made mistake

leaving his life in Las Vegas, and he decided to move back. In November 2020, Mr.

Sandlin gave up his apartment in Memphis, moved in with his parents, and began making

plans to move back to Las Vegas. He was already in the process of relocating back to

Las Vegas when the events of January 6, 2021 transpired. After those events, Mr.

Sandlin did in fact relocate to Las Vegas. During this time, he also visited friends where

he used to live in the Los Angeles area. This is why Mr. Sandlin was in the Los Angeles

area after January 6 and why he was in Las Vegas when he was arrested—not because he

was fleeing his residence the Memphis area to avoid arrest. When the Magistrate Judge

in the District of Nevada found that Mr. Sandlin had a “[l]ack of significant community

and family ties to this district” in concluding that he posed a risk of flight, the judge was

incorrect. Mr. Sandlin had lived in Las Vegas for over five years and had an established

life there.



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       5.      Mr. Sandlin is highly committed to community activism. When Mr.

Sandlin was still living in California, he started a non-profit organization called Pedal

Movement in a low-income neighborhood in Long Beach with a large homeless

population. Pedal Movement worked to provide bicycles to people in the community to

foster their ability to get and keep jobs. Mr. Sandlin and his friend were able to get a

local arts college to donate a parking lot with an abandoned building to Pedal Movement.

They transformed the building into the hub of the operation. Pedal Movement accepted

donated bikes and parts, gave the bikes they received and refurbished to people in the

community, trained persons to become bicycle mechanics, and provided people in the

community with affordable bicycle-repair services. Even today, an iteration of Pedal

Movement is still operating. Many of the people who have written letters for Mr. Sandlin

have commented on his involvement in starting up and developing Pedal Movement. See
Attachment, Letters of Support at 1, 2, 3, 11, 12.

       6.      In part using lessons he had learned from online outreach for Pedal

Movement, Mr. Sandlin developed his own on-line marketing company. This company

became a thriving concern when Mr. Sandlin moved to Las Vegas. Mr. Sandlin would

invest in advertising to identify and recruit people who were in need of certain services

and products. He would then connect these people with the appropriate providers. As an
adjunct to his online marketing business, Mr. Sandlin also consulted with other online

business owners, especially minority business owners, about developing their businesses.

Much of this work was done pro bono. At the height of his business, Mr. Sandlin had

seven employees and a monthly payroll in excess of $50,000. Many of the people who

have written letters of support for Mr. Sandlin have commented on his entrepreneurial

and business activities. See Attachment, Letters of Support at 4, 10, 14-15,

       7.      After moving to Tennessee from Las Vegas, Mr. Sandlin began

developing a business plan for helping makers of athletic and leisure wear identify




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manufacturing operations to make their products. If released, this is the business that Mr.

Sandlin intends to pursue.

       8.      According to the Pretrial Service Agency report that was prepared for Mr.

Sandlin’s initial appearance in the District of Nevada, Mr. Sandlin has an arrest for DUI

from 2013. The report does not indicate any disposition. Apart from this incident, Mr.

Sandlin has not had any other involvement with the criminal-justice system.

       9.      In this case, Mr. Sandlin has now been charged by indictment. None of

the counts he is charged with create a presumption that he should be held without bond.

See 18 U.S.C. §3142(e)(2), (e)(3), and (f)(1). In the indictment, Mr. Sandlin is charged
with two separate counts of assaulting, resisting, or impeding a United States

officer/employee under 18 U.S.C. § 111(a)(1). The government has provided

undersigned counsel with videos from the U.S. Capitol from January 6, 2021 that it

alleges show Mr. Sandlin committing each of these charged offenses. One video shows

what appears to be Capitol security personnel trying to push closed a set of double doors

while a group of people occupying the Capitol are trying to keep the doors open. The

security personnel and the occupiers are all on the outside of the doors. The government

appears to be alleging that Mr. Sandlin is one of the people trying to keep the doors open.

In the video, occupiers appear to push the security personnel out of the way and then
chase them off. It does not appear that anyone was injured. Another video shows what

appears to be a U.S. Capitol Police Officer in a doorway blocking occupiers who are

pushing against him from entering through the doorway into the room behind him.

Behind the officer are other occupiers who have already entered the room, presumably

through some other entrance. These occupiers appear to be trying to pull the officer out

of the doorway from behind. While this incident was undoubtedly traumatic and scary

for the officer involved, it does not appear from the video that he was injured.

       10.     If the Court sees fit to release Mr. Sandlin, he will live with his parents on

their 40-acre farm about an hours’ drive from Memphis. Mr. Sandlin’s parents describe


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where they live as being “in the middle of nowhere.” Mr. Sandlin will consent to GPS

location monitoring and travel restrictions. He will also consent to having PSA monitor

his online activities to alleviate any concerns the Court might have about him connecting

with people online to engage in future improper political activities. If Mr. Sandlin is

released, Mr. Sandlin’s parents are willing to drive to Washington, D.C. to pick Mr.

Sandlin up and take him straight back to their home.

        11.     Where a magistrate judge has ordered a person to be held without bond

pending trial, “the person may file, with the court having original jurisdiction over the

offense, a motion for revocation or amendment of the order.” 18 U.S.C. § 3145(b). In

order to hold a person without bond pending trial, a judicial officer must find that “no

condition or combination of conditions will reasonably assure the appearance of the

person as required and the safety of any other person and the community.” 18 U.S.C. §

3142(e)(1). Here, conditions of release can be fashioned for Mr. Sandlin that will

reasonably assure his appearance at future court proceedings and the safety of other

persons and the community. Accordingly, Mr. Sandlin should be released on conditions.



                                        DISCUSSION

        As an initial matter, it must be noted that it is questionable whether of not Mr.

Sandlin even qualifies for consideration for preventive detention on the grounds that he

poses a “serious risk of flight” and a “serious risk to obstruct justice.” In its initial

Detention Memo, the government references the fact that, after January 6, Mr. Sandlin

went to the Los Angeles area and then to Las Vegas. The government argues that this

shows that Mr. Sandlin was fleeing the Memphis area to avoid arrest. However, when

properly understood, the facts do not show this at all. Mr. Sandlin had already made

plans to relocate from Memphis, where he had only been for a short time, back to Las

Vegas prior to January 6, and was simply following through on those plans when he went

to California and Las Vegas after January 6. On this point, it should be noted that, given

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“the public streaming of his criminal conduct on social media” that the government has

referenced, if Mr. Sandlin was trying to avoid arrest, he would not have gone to the Los

Angeles area and Las Vegas, the only two places where he has ever lived and is thus

known enough to likely be turned in by people who would recognize him. Thus, Mr.

Sandlin’s travel to the Los Angeles area and Las Vegas does not evince an attempt to

flee. Moreover, in regards to obstruction of justice, the fact that Mr. Sandlin may have

taken down from public view on Facebook potentially incriminating videos that he

himself posted in the first place does not provide sufficient grounds for actually

concluding that he poses a serious risk of obstruction of justice. One’s decision to simply

no longer publicize his illegal conduct is somewhat less sinister than actually concealing

evidence that he never made public to begin with. Beyond all this, even if it can be found

that Mr. Sandlin does qualify for consideration for preventive detention on the grounds

that he poses a “serious risk of flight” or a “serious risk to obstruct justice,” the Court still

cannot find that such detention is appropriate upon closer examination of the facts. When

deciding whether or not to detain a person pending trial, a judicial officer is to look at 1)

the “nature and circumstances of the offense[s] charged,” 2) “the weight of the evidence

against the person,” 3) “the history and characteristics of the person,” and 4) “the nature

and seriousness of the danger to any person or the community that would be posed by the

person’s release.” 18 U.S.C. § 3142(g). Consideration of these factors compels a finding

that Mr. Sandlin should be released on conditions.



        Nature and Circumstance of the Offenses and Weight of the Evidence
        In this case, Mr. Sandlin is charged by indictment with, among other things, two

separate counts of assaulting, resisting, or impeding a United States officer/employee

under 18 U.S.C. § 111(a)(1). These are obviously the counts that will most trouble the

Court. Admittedly, the government has video evidence that appears to capture the

conduct giving rise to these counts. However, it must be noted that the video evidence


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does not appear to show that the United States personnel listed as the victims in the

counts were injured. Additionally, neither of the two counts under 18 U.S.C. §111(a)(1)

nor any of the other counts in the indictment against Mr. Sandlin are for offenses that are

considered dangerous enough to create a presumption on their own that he should be held

without bond, and the government has not pointed to anything outside of conduct related

to those charged crimes that would indicate that Mr. Sandlin would pose a danger to

society. Additionally, the events of January 6 that Mr. Sandlin is alleged to have engaged

in were occasioned by an already uncommon event (the quadrennial counting of the

Electoral College votes in the United States Congress) occurring in the extremely unusual

context of people being widely told by news sources and obviously very high-ranking

public officials that the votes were illegitimate and the counting process corrupt. It is

hard to see how a similar confluence of events would occur again. Accordingly,

consideration of the nature and circumstances of the charged offenses and the weight of

the evidence does not militate in favor of preventive detention.


                    The History and Characteristics of Mr. Sandlin
       Mr. Sandlin is 33 years old and, apart from a DUI arrest from eight years ago,

does not appear to have any prior involvement with the criminal-justice system. Mr.

Sandlin has a history of community activism and volunteerism and is widely regarded as

kind, generous, and non-violent person. He has been a productive member of society—a

developer of a non-profit organization serving low-income and homeless people, an

entrepreneur, an employer. He has helped other people develop their own businesses.

Even if it is assumed that Mr. Sandlin did what the government has charged him with, it

must be acknowledged that such conduct would still be anomalous for him and not

representative of who he is as a person. He has strong support from his family and

friends. Consideration of Mr. Sandlin’s history and characteristics militate strongly in

favor of release.


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                      The Danger Posed by Mr. Sandlin’s Release

       If the Court sees fit to release Mr. Sandlin, he will live with his parents on their

40-acre farm about an hours’ drive from Memphis in a rural area. Mr. Sandlin will

consent to GPS location monitoring and travel restrictions. He will also consent to

having PSA monitor his online activities to alleviate any concerns the Court might have

about him connecting with people online to engage in future improper political activities.

Especially if such conditions are imposed, it is hard to see how Mr. Sandlin would pose a

danger to anyone or the community. Moreover, if Mr. Sandlin is released, Mr. Sandlin’s

parents are willing to drive to Washington, D.C. to pick him up and take him straight

back to their home. Consideration of the danger posed by Mr. Sandlin if he were released

therefore militates against preventive detention.

       WHEREFORE, the defendant, Ronald Sandlin, moves this Honorable Court to

vacate the order of preventive detention in this case and release him on the conditions

specified above.


                                                      Respectfully submitted,

                                                      ____/s/____________
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